     Case 1:02-cr-00154-CG-D             Doc# 97        Filed 05/05/09       Page 1 of 4        PageID# 119
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations                    (6474)


                 UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF ALABAMA

        UNITED STATES OF AMERICA                           JUDGMENT IN A CRIMINAL CASE
                         V.                                (For Revocation of Supervised Release)
        JESSIE MCCLAIN
        a/k/a Jessie Adam McClain                          CASE NUMBER: 1:02-CR-00154-003
                                                           USM NUMBER: 08208-003

THE DEFENDANT:                                             Carlos A. Williams, Esquire
                                                           Defendant's Attorney


(X) admitted guilt to violation of supervision conditions: Mandatory condition, 7 & 8 as set out in
the petition dated 4/2/2009.
()      was found in violation of supervision condition(s):
                                                                                             Date violation
Violation Number                                  Nature of Violation                        Occurred
Mandatory Condition                               New Offense                                03/05/2009
       7                                          Technical
       8                                          Technical

      The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.


()     The defendant has not violated condition(s)                 and is discharged as to such violation(s)
condition.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid.

Defendant's Social Security No.: 5862
                                                               April 28, 2009
Defendant's Date of Birth: 1976                                Date of Imposition of Judgment

Defendant's Residence Address:
Eight Mile, AL                                                 /s/ Callie V. S. Granade
                                                               CHIEF UNITED STATES DISTRICT JUDGE

Defendant's Mailing Address:
                                                               May 5, 2009
                                                               Date




AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 2 - Imprisonment
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                                                                                           Judgment 2
Defendant: JESSIE MCCLAIN, a/k/a Jessie Adam McClain
Case Number: 1:02-CR-00154-003
                                          IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of SIX (6) MONTHS     .

()     The court makes the following recommendations to the Bureau of Prisons:

(X) The defendant is remanded to the custody of the United States Marshal.
( ) The defendant shall surrender to the United States Marshal for this district:
  ( ) at .m. on .
  ( ) as notified by the United States Marshal.
()     The defendant shall surrender for service of sentence at the institution designated by the Bureau of
       Prisons:
 ()      before 2 p.m. on      .
 ()      as notified by the United States Marshal.
 ()      as notified by the Probation or Pretrial Services Office.

                                                 RETURN
I have executed this judgment as follows:




Defendant delivered on                      to                                 at

with a certified copy of this judgment.
                                                                      UNITED STATES MARSHAL


                                                                By:
                                                                              Deputy U.S. Marshal
      Case 1:02-cr-00154-CG-D            Doc# 97        Filed 05/05/09       Page 3 of 4         PageID# 121
                                                                                                   Judgment 3
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 3 - Supervised Release
Defendant: JESSIE MCCLAIN, a/k/a Jessie Adam McClain
Case Number: 1:02-CR-00154-003
                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 30 months

Special Condition: The defendant shall participate in a program of testing and treatment for drug
and/or alcohol abuse as directed by the Probation Office.

        For offenses committed on or after September 13, 1994: The defendant shall refrain from
        any unlawful use of a controlled substance. The defendant shall submit to one drug test
        within 15 days of release from imprisonment and at least two periodic drug tests thereafter,
        as directed by the probation officer.
        ()      The above drug testing condition is suspended based on the court’s determination that the
                defendant poses a low risk of future substance abuse. (Check, if applicable)

()      The defendant shall register with the state sex offender registration agency in the state where the
        defendant resides, works, or is a student, as directed by the probation officer. (Check, if applicable)

()      The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

(X)     The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that
the defendant pay any such fine or restitution that remains unpaid at the commencement of the term of
supervised release in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties
sheet of this judgment. The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by this court
(Probation Form 7A).
The defendant shall also comply with the additional conditions on the attached page (if applicable).


                                  See Page 4 for the
                       "STANDARD CONDITIONS OF SUPERVISION"
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                                                                                                   Judgment 4

AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 3 - Supervised Release
Defendant: JESSIE MCCLAIN, a/k/a Jessie Adam McClain
Case Number: 1:02-CR-00154-003
                                      SUPERVISED RELEASE
                        STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) the defendant shall report to the probation officer and shall submit a truthful and complete written report
        within the first five days of each month;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of
        the prob. officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for
        schooling, training, or other acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or
        employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute,
        or administer any controlled substance or any paraphernalia related to any controlled substances,
        except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed,
        or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate
        with any person convicted of a felony unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
        shall permit confiscation of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned
        by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law
        enforcement agency without the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be
        occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
        the probation officer to make such notifications and to confirm the defendant's compliance with such
        notification requirement.
14) the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if
        applicable, under the provisions of 18 U.S.C. §§ 3563(a)(9) and 3583(d) for those defendants
        convicted of qualifying offenses.
